                12-12020-mg                      Doc 5926-1 Filed 11/18/13 Entered 11/22/13 11:56:52                                                                Exhibit
                                                      Documents in re: Mortgage Pg 1 of 25
FAX COVER SHEET (This page should be returned to us with your completed financial analysis f orm)
**PLEASE INCLUDE THE ACCOUNT NUMBER ON EVERY PAGE OF YO UR RETURNED PACKAGE**
To: Loss Mitigation
From: _ _ __ _ _ _ __ _ _ _ _ _ Account Number(s)_ _ _ _ _ _0_6_0 _18_5_6_3_2_0_ _ _ _ __
Fax to: 1-866-709-4744          or mail to: Loss Mitigation
                                            233 Gibraltar Road Suite 600
                                            Horsham PA 19044
ALL of the following information must be completed and returned to determine eligibility:
       u::L inancial Analysis Form/I nformation fo r Government Monitoring Purposes
       !:!!/' A signed and da ted Dodd-F r a nk C ertifica tion
       ~ A signed and da ted Acknowledgement a nd Ag reement
       ~ A signed and dated IRS Form 4506T-EZ (Request for Transcri pt of Tax Return). Bo rrowers who fil ed their tax returns jointly may send in one IRS Form 4506T-EZ
       _ .)igned and dated by both the joint fil ers. T his form is required even if yo u have not fil ed or a re not requi red to fil e tax returns.
       bJ' Docum entation confirmin g occupancy- for example, a recent utility bill in yo ur name at the property address.
       D Documenta tion verifying expenses for Homeowners or Condominium Association Dues for cond omi niums a nd Co Ops. (if applicable)
       ~ocumentation to verify all of the income of each borrower. Please see the chart below for the ty pe of documentation required for each ty pe of income.
                                                                                   IMPORTANT NOTI CE
                           We understa nd that yo u filed for ba nkru ptcy and have received a discharge under Chapter 7 of the United States Bankruptcy Code. You
                           a re not perso nally obligated to repay the mortgage loan referenced above and we a re not at tempting to collect a ny debt from yo u. Signing
                           t he W orkout Plan will not make yo u personally lia ble for the mortgage loa n, however, it will enable us to accept a nd apply voluntary
                           payments which are different from what was required under yo ur Note prior to discha rge in bankrup tcy. iGMAC Mo rtgage,
                           LLC/1-Iomecomings Financial, LLCi will continue to retai n its lien on the above- referenced property, along with all rights to enforce/such
                           lien against the property. Yo ur payments pursuant to the Wo rkout Plan will reduce the a mount of the lien.                             l
         The info rmation req uested in this workout application is necessary to determine yo ur eligibility for a loa n modification or repay ment ag reement under both government a nd
            non-governm ent loan modification a nd repayment programs, and should yo u be eligi ble, to enable us to best serve you in modifying your loan should you choose to make
                                                                        voluntary pay ments to reduce the bala nce of the lien.
            I\ I'F 01· I\( 0\IL                                                                   DO< l \II \I \ 110\ RL<)l IIU.D
Paid by an employer or short tenn            0   Copy of two most recent pay stubs fro m yo ur employer including year to date infonnation. Pay stubs cannot be more than 90 days old.
disabi lity
Self employed or receive a I 099 fonn        0   Copy of most recent quarterly or year-to-date Profit and Loss statement
                                                  See Exhi bit A for a sample of a 3 Month Self Employment Income Statem ent (P rofit and Loss Form )
                                                      AND
                                             0        C o pies of two most recent bank statements. Bank statements canno t be over 90 days o ld .
                                                      AND
                                             0
                                                      C o py o f the m ost recent fede ra l tax return with all schedules, including_ Schedule E -S li_QQie mental Income and Loss .
 Child support or alimony•                   0        Copy of di vorce decree, separation agreement, or other legal written agreement filed with the court that shows the amount of the award and
                                                      period of time over which it will be received
                                                      AND
                                             0        Copies of two most recent bank statements verifying deposit amounts or other docume ntation (i.e. 2 copies of checks) showing receipt of
                                                      child support or alimony. Bank statements cannot be over 90 days old.
 Social Security, disability, death          rf   '   Copy of benefits statement or letter from the provider that states tl1e amount and frequency of the benefit.




                                             '
 benefi ts, or pension                                AND
                                                      Copies of two most recent bank statements verifY ing deposit amounts or otl1er documentation (i.e. 2 copies of checks) showing receipt of
                                                      benefit income. Bank statements cannot be over 90 days old.
 Other earned income (i.e. bonus,            0        Copy of third party documentation describing the nature of the income (i.e. an employment contract and/or printouts documenting tips) and
 commi ssion, housing allowance, and/or               indicating the income is not a one time payout.
 tios)
 Rental income from an investment            0       Copy of the most recent federal tax return with all schedules, including Schedule E-Supplemental lncome and Loss.
 property                                            AND
                                                     Current lease agreement for the subject property.
                                               0     AND
                                                     Copies of two most recent bank statements verifYing deposit amounts or other documentation (i.e. 2 copies of checks) showing receipt of
                                               0     income. Bank statements cannot be over 90 days old.
                                                     See Exhibit B for a samp_le of an Investment Property Schedule.
Rental income from room rental of tl1e         0     Copy of current lease agreement.
 primary residence                                   AND
                                               0     Copies of two most recent bank statements verifying deposit amounts or other documentation (i.e. 2 copies of checks) showing receipt of
                                                     income. Bank statements carmot be over 90 days old.
 Unemployment                                  0     Copy of a benefits statement or letter from the provider that states tl1e amount, frequency, and duration of the benefit. Benefit must continue
                                                     for at least 9 months to be considered.
                                                     AND
                                               0     Documentation must show receipt unemployment benefits have b..gt~n or will begirl_within 60 d~ .
Other income (investment, interest,            0     Copies of two most recent bank statements verifYing deposit amounts or other documentation (i.e. 2 copies of checks) showing receipt of
 di vidends, etc.)                                   income. Bank statements cannot be over 90 days old.
 Income not specified above                    'if' Signed letter from the person(s) that contributes the income showing the amount and frequency of the income.
                   lw~e. lA}/~
                                                     AND
 lnc#tt:-r                                   r/      Copies of two most recent bank statements verifYing deposit amoun ts or other documentation (i.e . 2 copies of checks) showing receipt of
f)J-B- .,_ CJ,f'rhr' bu.+~                           income . Bank statements cannot be over 90 days old.
 *You are no t reqmred to disclose Child Support, Alimony, or Separate Mamtenance mcome, unless you choose to have II considered.
 If you wa nt to sell this pro pertv. please also include:
               0 Copy of the listi ng agreement
               0 Copy of the sales contract, if available
               0 Copy of the estimated Settlement Statement (HUDI ), if available
               0 Sitmed T hird Partv Authorizatio n Form
                             To ensure your request is processed without delay, it is important that you provide a complete package including all the supporting
                             documentation and required signatures. You MUST sign all of the Acknowledgements and Agreements in this form. If you are unable
                             to provide all the requested supporting documentation, please submit with the information you have available and we will provide a
                             knowledgeable agent to assist you in compiling any missing documentation and guide you through the process.

                                                                                                                                                                            v09071 1
              12-12020-mg                  Doc 5926-1 Filed 11/18/13 Entered 11/22/13 11:56:52                                                                    Exhibit
                                                Documents in re: Mortgage Pg 2 of 25
FINANCIAL ANALYS IS FORM                                                                                                      Acco unt Number = ==
                                                                                                                                                 0=6=0=18=5=6=3=2=0== =
                                  BOIUW\\ Ll{                                                                                       <0-BORIW\\ ER
                                                                                            Co-Borrower' s Name

                                                                                            Social Security N umber




Is the property listed for sale? 0 Yes                                                      Have you..)Pntacted a
For Sale by Owner? 0 Yes ~o                                                                 0 Yes \ji"No
Agent' s Name: -=---=---------- - - - -- - - - - --                                         If yes, please complete counselor contact information below.
Agent's Phone Number: - - - , - - - ----,---- -- ,..---.f'---- -- - -                       Counselor' s Name:
Have you received an offer on the property? 0 Yes i'l<l'o                                   Counselor' s Phone N umber: - - - -- - - - - -- -- - - -- - - -
Date                                Amount of Offer                                         Counselor' s Email:
                                                                                            Who pays the hazard insurance poli cy for your property?
                                                               0 Yes$            0 No       Is the policy current? 0 Yes 0 No




                                                                                                            -=-~· -.:..-.- ... 12 0 Chapter 13
                                                                               -';-'--"-;.d!!..~"7.-.L:-..L...-~-""'---::-:,- Di strict and State: - - =--r-:-::;;c--t-----::----     -   -   -   -   -
                                                                                                                                               ....,_,,_/_
                                                                                                         and a copy of the discharge order _ _ '}        1_1-'i/f---""'-'-----   -----
                                                                                                                                                            1
       are                               or Judgments on th is property, please name the person(s), company or firm and their telephone numbers.
Lien Holder' s Name/Servicer                  Balance                          Contact Number                     Loan N umber




                                                   1'\H)I{\1 \ 110'\ 1· ()1{ (,()\ Ll{'\\11.'\ 1 \10'\11 ORI'\(, l'l RPOSI.S
lf a pplying for the Making Home Affordab le Modifica tion Program we encou rage you to provide th e following, however this is not a r equirement of other
modificat ion programs. The law provi des tha t a lender or servicer may not discriminate eith er on the basis of this informa tion, or on w hether yo u choose to
furni sh it. If you furnish the informati on, please provide both ethnicity and race. For race, you may check more than one designation. If you do not furni sh ethnicity,
race, or sex, the lender or servicer is required to note the information on the basis of visual observation or surname if you have made th is request for a loan modification in
person.
BORROWER                      0   I do not wish to furni sh this infonnation                    CO-BORROWER                        0     I do not wish to furni sh this infonnation
                              0   Hispanic or Latino                                                                               0    Hil\tlic or Latino
Ethnicity:                                                                                      Ethnicity:
                     '        II" Not Hispanic or Latino                                                                           ll   N     ispanic or Latino
                                                                                                                                        I ~dian or Alaska Native



                                                                                                                     {l\ ~
                              0  American Indian or Alaska Native
                                ,Asian                                                                                                  1.
Race:                        ~                                                                                                           ~ lack or rican American
        -                     0
                              0
                                 Black or African American
                                 Native Hawaiian or Other Pacific Islander
                                                                                                Race:
                                                                                                                                   0
                                                                                                                                   0
                                                                                                                                           ative Hawaiian or Other Pacifi c Islander
                                 White                                                                                                   White
Sex:                         ~    Female                                                        Sex:                               0     Female
                              0   Male                                                                                             0
                                                                                                                                         Male

                                                   1'\H)J{\1 \ 110'\ IU .(, \1{1)1'\(, \Ill II \In Sl R\ I( I \II \IHI· I{S

P lease check her e if you or a fa mily member is on active du ty wi th our military. You may be eligible for benefits and protection under
th e Se rvice membe rs C ivil Relief Act " SCRA" .                                                                                                                                        0




                                                                                                                                                                        v0907 1l
                     12-12020-mg                      Doc 5926-1 Filed
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                                                           Documents in re: Mortgage Pg 3 of 25
FINANCIAL ANALYSIS FORM (Continued)                                                                                                                                    0601856320



                                                                    0 Employed
                                                                                                                                                                                $
                                                                    0 Unemployed

                                      Income Frequency:             Income Frequency:
Gross Salary/Wages
                                      0 Annually                    0 Annuall y                                                                               Care
                                                                                                                                                                                $
                                      ~ m i-An nua lly              0 Semi-Annuall y
                                           onthl y                  0 Monthly
                                      0 Bi-weekl y                  0 Bi-weekl y                                                                                                $
                                      0 Weekl y                     0 Weekly
                                      0 I" & 15~ / 15~ & JO''       0 I" & 1 5~ / 1 5~& 30"                                                         Other Mon gages
Gross salary/wages ~ tolal
                                      0 Other                       0 Other
monthly income before any                                                                                                                           Personal Loans/Student
tax withholding or employer                                                                                                    $                                                $
                                                                                                                                                    Loans
deductions.
                                                                    Employme nt Stan
                                                                    Date:                                                      $                    Auto Loans/Lease            $
                                                                                                                                      ¢



retirement
                                      $                             $

                                      $                             $

                                                                                              The above information
                                                                                              will not be used for the
                                                                                              collection of a ny debt.



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                                               ~'l-1                                                                                                                            $
                                                                                                                                                                                      ¢
J;" C.Of'l\~
Other (investment, income,                     5~4_
royalties, interest, dividends,       $                              $
etc.)
                                              tJ./tl                                                                                                                            $
                                                                                                                                                                                      tZ)


                                                                         ****ALL
                                                                Include combined expenses from the borrower and co-borrower (if any).
                               If you include income and expenses from a household member who is not a borrower, please specify using a separate page if necessary.
                            •You are not required to disclose Child Suppon, Alimony or Separation Maintenance income, unless you choose to have it considered by your servicer.
                                                                      If dd'ti   I I    . eeded I I      . I d       dd'ti    I I •

                                                                                              II \IWSIIII' \I I· JI)\ \I I
                             I am havio difficul          makin m month!                 a meot because of financial difficulties created b        Please check: all tliat a    I ·
n         Borrower Death                               ~Reduction of Income                                0 _,Military Service                          ~ Payment Ad ' ustmen t
D Ulness of Borrower                                   ~Excessive Financial Obligations                     ~ Unemployment                               0 Ownership   Transfer is Pending (I f
                                                                (Examples may be large medical bills,                                                      the home is in the process of being
                                                                credit card debt, or college tuition                                                           sold)
      .r                                                        pay ments)
r5/ Illness of Family Member                           D Property Problem (Anything that may                D beBusiness Failure (Examples would         D Tenant not Paying
                                                                be defective abo ut the propeny such as           loss of business income)
                                                                a costly repair that needs to be made)           /
D ,.Death of Family Member                             D Inability to Sell Property                         M" Bankruptcy Filed                          D county,
                                                                                                                                                           Incarceration (Sentenced to a city,
                                                                                                                                                                   state, or federal jail)

F:/
  '
          Marital Difficulties (Examples
          include going through a legal
                                                       D Inability to Rent Property                         D Casualty  Loss (Unexpected event
                                                                                                              such as hurricane, flood, or
          separation or filing for divorce)                                                                          eanhquake that damages tl1e
      /                                                                                                              propenyl
~ther
Ex planation (Req uired ):
 ~:h're4 e_c.tl!!f. fo ~y~ f:or Ku~ ba.nd W t +-lt
If additional space is needed for Explanation, please include an additional page.               .(I
                                                                                                        Ptav kn, ~ "Ia TieC-~St.t ±b lU'\ ~A~l.k:; ~ 1, ~e...
                                                                                                      \ee.l ..for chvot'c;e. [4 "d Mo ~~~ ; f\ IJ.JJ 1 hI~ cl-14(~ ~            f"
                                                                                                                                                                               v090711
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                                          Documents in re: Mortgage Pg 4 of 25
                                                                                                                             Lfl1b
                                                                                                                              Exhibit 1_0              ~~
                                                                                                          Account Number _ _0_6_0 _18_5_6_3_2_0_ __    ~

                                                               Dodd-Frank Certification
The following information is requested by the federal government in accordance with the Dodd-Frank Wall Street Reform and Consumer Protection
Act (Pub. L. 111-203). You are req uired to furnish this information. The law provides that no person shall be eligible to begin receiving assistance
from the Making Home Affordable Program, authorized under the Emergency Economic Stabilization Act of 2008 ( 12 U.S.C. 5201 et seq.), or any
other mortgage assistance program authorized or funded by th at Act, if such person, in connection with a mortgage or real estate transaction, has been
convicted, within the last 10 years, of any one of the following : (A) fe lony larceny, theft, fraud, or forgery, (B) money laundering or (C) tax evasion.

1/we certify under penalty of perjury that 1/we have not been convicted within the last 10 years of any one of the following in connection with a
mortgage or real estate transaction:
(a) felony larceny, theft, fraud, or forgery,
(b) money laundering or
(c) tax evasion.

1/we understand that the servicer, the U.S. Department of the Treasury, or their agents may investigate the accuracy of my statements by performing
routine background checks, including automated searches of federal, state and county databases, to confirm that I/we have not been convicted of such
crimes. I/we also understand that knowi ngly submitting false information may violate Federal law.

This Certificate is effective on the earlier of the date listed below or the date received by your servicer.


DIANE M WALKER                                                             RONNIE E WALKER
Borrower Signature                          Date                                                                          Date




                                                                                                                                   v0907 11
                12-12020-mg                                         ( 2- - IL.O
                                              Doc 5926-1 Filed 11/18/13         ~f) 11/22/13
                                                                            Entered  f/1\ .&- 11:56:52                                                       Exhibit
                                                   Documents in re: Mortgage Pg 5 of 25

                                                   ACKNOWLEDGEMENTANDAGREEMENT
                                                                                                          Account Number _ _ ____,0"-'6'-"0""l-"'-85:: . 6::e..:3::.!:2'-"0_ _
In maki ng this req uest fo r consideration to review my loan terms 1/We certify under penalty of perjury:
I    That all of the inforn1ation in this document is truthful and the event(s) identified is/are the reason that 1/we need to request a modification of the terms of my/our
     mortgage loan, short sale or deed-in-lieu of foreclosure.
2    Ilwe understand that the Servicer, the U.S. Department of the Treasury, owner or guarantor of my mortgage, or its agents may investigate the accuracy of my/our
     statements and/or may require me/us to provide supporting documentation. !/we also understand that knowingly submitting false information may violate Federal
     law.
3    1/we understand the Servicer will obtai n a current credit report on all borrowers obli gated on the Note.
4    1/we understand that if l!we have intentionally defaulted on my/our existing mortgage, engaged in fraud or misrepresented any fact(s) in connection with this
     document, the Servicer may cancel any Agreement under Making Home Affordable or any mortgage relief granted and may pursue foreclosure on my/our home.
5    1/we understand any fee to validate the value of the property wi ll be assessed to the account.
6    I/ we have not received a condemnation notice; and there has been no change in the ownership of the Property si nce l/we signed the documents for the mortgage
     that Ilwe want to modify.
7    !/we certi fy that 1/we will obtain credit counseling if it is determined that my/our financi al hardship is related to excess ive debt. For purposes of the Making
     Home Affordable program, "excessive debt" means that my/our debt-to-income ration after the modification would be greater than or equal to 55%.
8    If! am eli gible for a trial period plan, repayment plan, or forbearance plan, and I accept and agree to all terms of such pl an, I also agree that the terms of the
     Acknowl edgment and Agreement are incorporated into such pl an by reference as if set forth in such plan in full. My first timely payment following my Servi cer' s
     detennination and notification of my eli gibility or prequ alification for a trial period plan, repayment plan, or forbearance plan (when appli cab le) will serve as
      acceptance of the terms set forth in the noti ce sent to me that sets forth the terms and conditions of the tri al period plan, repayment pl an, or forbearance plan.
9     1/we agree that when the Servicer accepts and posts a payment during the term of any repayment pl an, trial period plan, or forbearance plan it will be without
      prejudice to, and will not be deemed a waiver of, the acceleration of my loan or foreclosure action and related activities and shall not constitute a cure of my
      default under my loan unless such payments are sufficient to completely cure my entire default under my loan.
 10 1/we am willing to provide all requested documents and to respond to all Servicer questions in a timely manner.
 II   !/we understand that the Servicer will use the information in this document to evaluate my/our eligibility for a loan modification or short sale or deed-in-lieu of
      foreclosure, but the Servicer is not obligated to offer me/us assistance based solely on the statements in this document.
 12 1/ we agree that any prior waiver as to payment of escrow items in connection with my/our loan has been revoked.
 13 I!we agree to the establ ishment of an escrow account and the payment of escrow items if an escrow account never ex isted on the loan.
 14 1/ we understand that the Servicer will coll ect and record personal in formation, including, but not limited to, my/our name, address, telephone number, social
      security number, credit score, income, payment history, government monitoring in fo rmation, and information about account balances and activity. 1/we
      understand and consent to the disclosure of my/our personal information and the terms of any Making Home Affordable Agreement by Servicer to (a) the U.S.
      Department of the Treasury, (b) Fannie Mae and Freddie Mac in connection with their responsibil ities under the Homeowner Afford ability and Stability Plan; (c)
      any investor, insurer, guarantor or servicer that owns, insures, guarantees or servi ces my/our fi rst lien or subordinate lien (if applicable) mortgage loan(s); (d)
      companies that perform support services in conjunction with Making Home Affordable; and (e) any HUD certifi ed housing counselor.
 15 1/we agree tha t to be considered for the Maki ng Home Afforda ble progra m, or any other progra m, all requi red docu mentation must be received no la ter
      t han 7 business days prior to the scheduled foreclosure sale da te. lf the property is in t he sta te of Florida, a co mpl ete package must be received 30 days
       pri or to t he scheduled fo reclosure sale date.
  16 NOTICE TO TEXAS BORROWERS : If the loa n you are req uesti ng to modify is a Texas Home Equity Loan or Li ne of Cred it, your loa n does not
       q ualify to be modified. However, please proceed with submitti ng yo ur fin a ncia l infor mation so that we ca n exa mine your fin a ncial situa tion and
       determine if there is a re payment progra m ava il a bl e to you in order to prevent for eclosure.
  17 1/we understand the Servicer will not refer the account to foreclosure or conduct the foreclosure sale if already referred, while it is being reviewed for the Making
       Home Affordable program unless required by your investor. The review will not begi n until all required documentation is received.
  18 1/we consent to being contacted concerning this request for mortgage assistance at any cellul ar or mobile telephone number I have provided to the Lender. Thi s
       includes text messages and telephone calls to my cellular or mobile telephone.                                              _ _ -       -- . ·-        p-Ef """"
  19 ~ My/Our property is owner occupied; 1/we intend to res ide in this property fo r the next twelve months.                 "!!,~=-~.!!_?-....,                      .......; '
             My/Our property IS not owner occupied.
 20      we furt her understa nd t ha t 1/we will not be personally obligated to repay t he mortgage loa n a nd that the Ser vicer is not a ttempting to coll ect any debt
       fro m me/ us. Signing this Agreeme nt will not ma ke me/ us personally lia bl e for t he mortgage loan. 1/we understa nd tha t t he Servicer will continue to
       retain its lien on the Proper ty, along with all rights to enforce such lien against the Property. W hethe r l/we choose to make voluntary payments in the
       a mount of the or iginal monthly payment as set forth in t he Note or th e modi fie d monthly payments as set fo rth in th is Agreement, such paymen ts will

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 ~nature                                              D a te        1                     _C_o___
                                                                                                                IV/A
                                                                                                 B_o_r-ro_w_e_r_S_i-=113~t-u_r,.e---''---------D-a_t_e_~t-.1/.,F- Jl.-
                                                                                                                                                                      h
                                                                                                                                                                   "'-...__
                                                                                                                                                                        ...

                   To ensure your request is processed without delay, it is important that you provide a complete package including all the supporting documentation and
                   required signatures. You MUST sign all of the Acknowledgements and Agreements in this form. If you are unable to provide all the requested supporting
                   documentation, please submit the application with the information you have available and we will provide a knowledgeable agent to assist you in compiling
                   any missing documentation and guide you through the process.
  If you have q uestions about this document or th e modification process, please call us a t the phone number listed on your monthly account sta tement. If you
 need furth er counseling, you ca n call the Homeowner 's HOPET" H otline at 1-888-995-HOPE (4673). T he Hotline ca n help with questions a bout t he progra m
                                              and offers free HUn-certified counselin ser vices in E n !ish a nd S a n ish.
                                                         NOTICE TO BORROWERS
    Be advised that you are signing the following documents under penalty of pe~ ury . Any misstatement of material fact made in the completion of
    these documents including but not limited to misstatement regarding your occupancy in your home, hardship circumstances, and/or income will
    subject you to potential criminal investigation and prosecution for the following crimes: pe~ury, false statements, mail fraud , and wire fraud. The
    information contained in these documents is subject to examination and verification. Any potential misrepresentation will be referred to the
    appropriate law enforcement authority for investigation and prosecution.
    By signing the enclosed documents you certify, represent and agree that
    'Under penalty of pe~ury, all documents and information I have provided to Lender in connection with this Ag reement, including the documents
    and information regarding my eligibility for the program, are true and correct.'

    If you are aware of fraud, waste, abuse, mismanagement or misrepresentations affiliated with the Troubled Asset Relief Prog ram, please
    contact the SIGTARP Hotline by calling 1-877-SIG-2009 (toll-free), 202-622-4559 (fax), or www.sigtarp.gov. Mail can be sent to Hotline Office of
    the Special Inspector General for Troubled Asset Relief Program, 1801 L St. NW, Washington, DC 20220.


                                                                                                                                                                   v0907 11
                 12-12020-mg               Doc 5926-1 Filed 11/18/13 Entered 11/22/13 11:56:52                                              Exhibit
                                                Documents in re: Mortgage Pg 6 of 25
Form   4506T-EZ Short Form Request for Individual Tax Return Transcript
(October 2009)                                                                                                                              OMB No. 1545-2154

Department or the Treasury                        Request may not be processed if the form is incomplete or illegible.
Internal Revenue Service




   b Nomt •howo oo '" "'"'"· U • ;o;ot "'"'"• tok< lht .,., oh~o                7
  Tip: Use Form 4506T -EZ to order a 1040 series tax return transcript free of charge.

                                                                                                      1b First social security number on tax return



   2a H a joint return, enter spouse's name sh                                                        2b Second social security number if joint tax return




   5 H the transcript is to be mailed to a third party (such as a mortgage company), enter the third party's name, address, and telephone
   number. The IRS has no control over what the third party does with the tax information.
        Third party name                                                                                Telephone number
        GMAC Mortgage                                                                                      1-800-7 66-4622

        Address (including apt., room , or suite no.), city, state, and ZlP code

         Attn: Loss Mitigation, 233 Gibralter RD, Horsham, PA 19044
   6      Year(s) requested. Enter the year(s) of the return transcript you are requesting (for example, " 2009"). Most requests will be processed within 10 business
          days.
                20 11                                   20 10


Caution. H the transcript is being mailed to a third party, ensure that you have filled in line 6 before signing. Sign and date the form once you have filled in line
6. Completing these steps helps to protect your privacy.


Note. H the LRS is unable to locate a return that matches the taxpayer identity information provided above, or if lRS records indicate that the
return has not been filed, the lRS may notify you or the third party that it was unable to locate a return, or that a return was not filed,
whichever is applicable.
Signature of taxpayer(s). I declare that I am either the taxpayer whose name is shown on line la or 2a. If the request applies to a joint return, either husband or
wife must sign.


  ote. This form must be received within 60 days of signature date.




                      nature (see instructions)
Sign
Here                               N/A
                  Spouse' s signature                                                               Date
For Privacy Act and Paperwork Reduction Act Notice, see page 2.                                 Cat. No. 54185S                       Form 4506T-EZ (10-2009)
             12-12020-mg                  Doc 5926-1 Filed 11/18/13 Entered 11/22/13 11:56:52                                 Exhibit
                                               Documents in re: Mortgage Pg 7 of 25
Form 4506T-EZ ( 10-2009)                                                                                                                        Page   2

Purpose of form . Individuals can use Form                                                             Transcripts of jointly filed tax returns
4506T-EZ to request a tax return transcript
                                                   Where to mail ...                                 may be furnished to either spouse. Only
that includes most lines of the original tax                                                         one signature is required. Sign Form
return . The tax return transcript will not        If you filed an             Ma il or fax to the   4506T-EZ exactly as your name appeared
show payments, penalty assessments, or             individual return           " Internal Revenue    on the original return . If you changed your
adjustments made to the originally filed           and lived in:               Service" at:          name, also sign your current name.
return . You can also designate a third party
(such as a mortgage company) to receive a          Alabama, Delaware,          RAIVS Team            Privacy Act and Papenvork Reduction
transcript on line 5. Form 4506T-EZ cannot         Florida, Georgia,           P.O. Box47-421        Act Notice. We ask for the information on
be used by taxpayers who file Form l 040           North Carolina,             Stop91                this fo rm to establish your right to gain
based on a fiscal tax year (that is, a tax         Rhode Island, South         Doraville, GA 30362   access to the requested tax information
year beginning in one calendar year and            Carolina, Virginia          770-455-2335          under the Internal Revenue Code. We
ending in the following year). Taxpayers                                                             need this information to properly identify
                                                   Kentucky, Loutstana,
using a fiscal tax year must file Form             Mississippi,                                      the tax information and respond to your
                                                                               RAIVS Team
4506-T, Request for Transcript of Tax              Tennessee, Texas, a                               request. Sections 6103 and 6109 require
                                                                               Stop 6716 AUSC
Return, to request a return transcript.            foreign country, or         Austin, TX 7330 I     you to provide this information, including
                                                   A.P.O. or F.P.O.            512-460-2272          your SSN. If you do not provide this
Use Form 4506-T to request the following.          address                                           information, we may not be able to process
                                                                                                     your request. Providing fa lse or fraudulent
                                                   Alaska, Arizona,                                  information may subject you to penalties.
• A transcript of a business return
                                                   California, Colorado,                                 Routine uses of this information include
(includ ing estate and trust returns).
                                                   District of Columbia,                             givi ng it to the Department of Justice for
• An account transcript (contains
                                                   Hawaii, Idaho, Iowa,                              civil and criminal litigation, and cities,
information on the financial status of the
                                                   Kansas, Maine,                                    states, and the District of Col umbia for use
account, such as payments made on the
                                                   Maryland,                                         in administering their tax laws. We may
account, penalty assessments, and                                              RAIVS Team
                                                   Massachusetts,                                    also disclose this information to other
adjustments made by you or the IRS after           Minnesota, Montana,         Stop 37 106           countri es under a tax treaty, to federa l and
the return was filed).                             New Hampshire, New          Fresno, CA 93888      state agencies to enforce federal nontax
• A record of account, which is a                  Mexico, New York,           559-456-5876
                                                                                                     criminal Jaws, or to federa l law enforcement
combination ofline item information and            North Dakota,                                     and intelligence agencies to combat
later adjustments to the account.                  Oklahoma, Oregon,                                 terrorism.
                                                   South Dakota, Utah,                                   You are not required to provide the
                                                   Vennont,
• A verification of nonfiling, which is proof      Washington,                                       information requested on a form that is
from the IRS that you did not file a return        Wisconsin, Wyoming                                subject to the Paperwork Reduction Act
for the year.                                                                                        unless the form displays a valid OMB
                                                                                                     control number. Books or records relating
• A Form W-2 , Form 1099 series, Form                                                                to a form or its instructions must be
I 098 series, or Form 5498 series transcript.      Arkansas,                                         retained as long as their contents may
                                                   Connecticut, Illinois,      RAIVS Team            become material in the administration of
Form 4506-T can aiso be used for                   Indiana, Michigan,          Stop 6705-841         any Internal Revenue law. Generally, tax
requesting tax return transcripts.                 Missouri, New Jersey,       Kansas City, MO       returns and return information are
                                                   Ohio, Permsylvania,         64999                 confidential, as required by section 6103.
                                                   West Virginia               816-292-6102              The time needed to complete and file
Automated tra nscript request. You can
                                                                                                     Form 4506T-EZ will vary depending on
call 1-800-829-1040 to order a tax return
transcript through the automated self-help                                                           individual circumstances. The estimated
                                                   Signature and date. Form 4506T-EZ must            average time is: Learning about the law
system. You cannot have a transcript sent          be signed and dated by the taxpayer Iisted
to a third party through the automated                                                               or the form , 9 min.; Preparing the form ,
                                                   on line I a or 2a. If you completed line 5        18 min.; and Copying, assembling, and
system.                                            requesting the information be sent to a
                                                                                                     sending the form to the IRS, 20 min.
                                                   third party, the IRS must receive Form
                                                                                                         If you have comments concerning the
Where to file. Mail or fax Form 4506T-EZ           4506T-EZ within 60 days of the date signed        accuracy of these time estimates or
to the address below for the state you lived       by the taxpayer or it wil l be rejected.
                                                                                                     suggestions for making Form 4506T -EZ
in when that return was filed.                                                                       simpler, we would be happy to hear from
                                                                                                     you. You can write to the Internal Revenue
  If you are requesting more than one                                                                Service, Tax Products Coordi nating
transcript or other product and the chart                                                            Comm ittee, SE:W:CAR:MP:T:T:SP, \Ill
below shows two different RAJVS teams,                                                               Constitution Ave. NW, IR-6526,
send your request to the team based on                                                               Washington, DC 20224. Do not send the
the address of your most recent return.                                                              form to this address. Instead, see Where to
                                                                                                     fi Je on this page.
                       12-12020-mg                     Doc 5926-1 ! ?--
                                                                    Filed (202(!)   ~ 11/22/13 11:56:52
                                                                          11/18/13 Entered                                                                                         Exhibit
                                                                        AGeorgia Natural Gas'
                                                            Documents in re: Mortgage Pg 8 of 25
                                                                                                                                                                                              Page       of 1


                                                                                                                                                True Blue Notes ®
    Billing Account                        Bill           Total Amount              'fatal Amount              Past Due-
          Number                           Date               Due                      Due Date             Pay Immediately                     Past Due Notice
   003535759-355 1789                  0211 5!.!0 12          $439 .70                03/08!.!012               $239 .19                        Our records indicate you have a past due
                                                                                                                                                balance. To avoid further late charges and
 A,• Summary of Services: 240
                          DIANE WALKER
                              FAIRBROOK LN LOT 130
                                                                                                                                                a deposit, please pay immediately. If your
                                                                                                                                                service is disconnected for nonpayment,
                                                                                                                                                your eligibility for price plans may be
                                                                                                                                                limited, and you may incur higher charges.
  Prior Reading (Actual)         Current Reading (Actual)             CCF Used         BT U Factor    Therms Price Per T herm
         4355                              4504                           149              1.01 2     150 .788     1.099
   Prior Reading Date              Current Reading Date                     Days of Service                    Meter Number
                                                                                                                                                To Customers on the Pre-Pay price
       01 /06!.!0 12                     02/03!.!0 12                                 28                          12450g9                       plan:
                                                                                                                                                If you do not pay the Total Amount Due
  AGLC Accoun t # 4623933g9                                                         Price Pla n: Pre- Pay                                       shown on your bill within 5 days of the
  DDDC : 1.588                                                                                                                                  Total Amount Du.e date, your account will
                                                                                                                                                be subject to dis:conne.ction . Refer to the
$ Explanation of Charges                                                                                                                        encl.o.aed no.t ice for additional information .


  Previous Balance                                                                  $399.19
  Payments Received                                                                  160.00 CR
  Balance Brought Forward                                                                                       239.19

  Current Gas Service Charges
  AGLC Base Charge                                                                     35 .56
  GNG Customer Service Ch arge                                                          8.99
  Gas Charge                                                                          165 .72
  Sales Tax                                                                            14.72

  Debit Adjustments
   Late Charge                                                                          10.00
  Total Actual Gas Service Charges                                                     234.99
                                                                                                                                               For billing questions, call Customer Care:
  Pre-Pay Credit {Previously Charged)                                                  117.28 C R
                                                                                                                                               Man -Fn 700CJm-1000pm Sat 700am-700pm
  Actual Charges less Pre-Pay Credit (Previously Charged)                                                      117.71                          770-850-6200    tnstde Atlanta
                                                                                                                                               1-877-850-6200  outstde At lanta
                                                                                                                                               www onlygng com

  Next Month's Pre-Pay Estimate                                                                                 82.80                        . To report a gas leak, call
                                                                                                                                              Atlanta Gas Light Company (AGLC):
                                                                                                                                               770-907 -4231                  tnstde Atlan ta
                                                                                                                                               1-877--127-4321                outstde Atlanta

                                                                                                                                              Payments:
                                                                                                                                               Georqta Natural GCJs
                                                                                                                                               P O Box 105445 Atl<1nta. GA 30348-5445
                                                                                                                                              Comments and Inquiries:
                                                                                                                                              Georgta Natural Gas
 ~ Tota l Amount Due:                                                                                                                         PO Box 440667 Kennesaw. GA 30160-95 12
                                                                                                                                             For information on now to read your bill. see reverse side.

                                               Please tear along perforation and return stub with your paym;.=e:..:.n:.::t·- -- - - - - -- - - - -- -- - -- - ----,


 A.Georgia Natural Cias·
                                                                                                                            Account Number                                          003535759-3551 789
                                                                                                                            Total Amount Due Date                                   03/08/2012
                                                                                                                            Total Amou nt Due                                       $439.70

      67500010 G H RP 1502162012 YYNNNY 0 1 022548 0052

      DI AN E WALKER
      240 FAI RBROOK LN LOT 130                                                                                                Please make check payable to : GEORGIA NATURAL GAS
      STOCKBRIDGE, GA 30281 ·6034
                                                                                                                                                              Amount Enclosed



      111 1" l'' '' ll '11 111•11•1'11111'111 1•11111 h11•1 1111 11l• l•l•u 11 ••
                                                                                                                                 $                                                                 •
                                                                                                                   PO BO X 105445
                                                                                                                   ATLANTA, GA 30348-5445
                Changes and Corrections
                Check here it the name or address tnlormatio n is
                incorrect. Note all changes on the back ot this form .                                             111 1111111''1 11 1' ' '1 '1 11•• 1·11••• 111 1111· 1·· 11'1 1'11 '1 111 ··1·1 1' '


                                                                                                                  5970035357593551789                                             3        000 43970
          12-12020-mg          Doc 5926-1 Filed 11/18/13 Entered 11/22/13 11:56:52                      Exhibit
                                    Documents in re: Mortgage Pg 9 of 25
THIRD PARTY AUTHORIZATION and AGREEMENT TO RELEASE

Please complete and return if you want us to speak with your Real Estate Agent, or any other designated third
party on your behalf.

Account Number:         Ofi01 R'ifi'i20   Name: DIANE M WALKER
                                                             ~~~~~~~~----~~~~~~~~~------
                                                                                           RONNIE E WALKER
Property Address: 240 FAIRBROOK LANE STOCKBRIDGE GA 30281


                  r8           Before you sign Ibis authorization, please be aware that .•.

         There is never a fee to get assistance or information about the Making Home Affordable program from your
     •
         lender or a HUD-approved housing counselor.
     •   Beware of any person or organization that asks you to pay a fee in exchange for housing counseling services or
         modification of a delinquent loan.
         Beware of anyone who says they can "save" your home if you sign or transfer over the deed to your house.
     •   Do not sign over the deed to your property to any organization or individual unless you are working directly
         with your mortgage company to forgive your deb .
                                                 1
     •   ONLY use HUD certified counseling gencies:           II 1.800.CALL.FHA to find a HUD-certified housing
         counseling agency.
         Never make your mortgage payments o anyon .                 i your mortgage company without their approval.

1/we do hereby authorize (my lender/rna                              r otherwise provide to:


Name

Relationship (if applicable)                                                                   Email Address

public and non-public personal fin cial i ormati contained in my loan account which may include, but is not limited
to, loan balances, final payoff statem nt, loan paym nt history, payment activity, and/or property information .

We, the lender/mortgage servicer, will take reasonab steps to verify the identity of the 3rd party authorized above, but
will have no responsibility or liability to verify the true identity of the requestor when he/she asks to discuss my account
or seeks information about my account. Nor shall we, the lender/mortgage servicer, have any responsibility or liability for
what the requestor may do with the information he/she obtains concerning my account.

1/we do hereby indemnify and forever hold harmless the lender/mortgage servicer, from all actions and causes of actions,
suits, claims, attorney fees, or demands against the lender/servicer which 1/we and/or my heirs may have resulting from
the lender/mortgage servicer discussing my loan account and/or providing any information concerning the loan account to
the above named requestor or person identifying themselves to be that requestor

If you agree to this Authorization and the terms ofthe Release as stated above, please sign, date, and return with the
Financial Analysis form

NOTE: No information concerning your account will be provided until we have received this executed document. The
authorization needs to be in the name of an individual (not a company) and a form needs to be completed for each
authorized individual. All parties on the Mortgage must sign.


Borrower Printed Name                 Borrower Signature                         Date
                                                                                                         SIGN HERE
Co-Borrower Printed Name               Co-Borrower Signature                     Date




                                                                                                            v090711
            12-12020-mg            Doc 5926-1 Filed 11/18/13 Entered 11/22/13 11:56:52                                       Exhibit
                                       Documents in re: Mortgage Pg 10 of 25
Im portant Tips/Reminders
    • The enclosed package encompasses requirements for all available programs, including the Government' s Making
       Home Affordable program. For information and el igibility requirements under the Making Home Affordable
       program, visit www.makinghomeaffordable.gov website. Please be aware we will not be able to process
         your request until all parts of the application have been completed and all supporting
         documentation has been supplied.

   •      Please continue to make your monthly payment. If ass istance is needed, it is recommended that you contact a
          credit counselor who is trained to guide you through your current fmancial situation . You can access
          www.hud.gov or call 800-225-5342 for more information regarding credit counselors.

    •     You may receive phone calls or letters from our office asking for a payment wh ile we consider any options that
          might be available.

    •     All modifications require an escrow account for the payment of taxes and insurance. If your loan does not
          currently include an escrow account for the payment of taxes and insurance, one will be added.

    •     While being reviewed for a workout (other than the Maki ng Home Affordable program), a fee to validate the
          value of the property may be assessed at your expense (approximate cost $100- $150).

    •     As a condition of the modification, you may be required to enroll in an electronic payment program.

Frequently Asked Questions
How long will it take to process my modification request and determine ifl qualify for the program?
   • We will review your request as quickly as possible. Once the package is returned to our office, Loss M itigation
      will contact you within 10 business days advising the package was received and notifying you if additional
       information is required.
   • Within 30 days from the date a complete package is received, you will be notified whether the modification
      option is available to you.
   • If you aren 't eligible for a modification, the reason for denial will be provided .
   • Please note, however, that your modification will not be effective unless you meet all of the app licable conditions.

I pay my car insurance on a semi-annually or annual basis. How should I list that?
Please make sure that the amount of the expense is broken down to a monthly premium amount.
Example: If the car insurance is $500 for 6 months to determine the monthly premium divide $500 by 6 months ($83.33 ).

What information is needed on the form 4506T-EZ?
Please complete the following:

        Line(s)     la- 4: List information as shown on your tax return
                        5: Write the name, address, and telephone number shown on your monthly mortgage statement
                        6: Write the year of the most-recent tax return you filed (Should be 2008 in most cases)

        Be sure to sign the form where indicated.

The 4506T-EZ form states, "Caution: If the transcript is being mailed to a third party, ensure that you have filled
in line 6 before signing. Sign and date the form once you have filed in line 6. Completing these steps helps to
protect your privacy." What do I enter for those items?
All applicable blanks on the form need to be completed. This disclaimer is provided as a warning that line 6 must be
completed prior to signi ng the form .

              To ensure your request is processed without delay, it is important that you provide a complete package including all the supporting
              documentation and required signatures. You MUST sign all of the Acknowledgements and Agreements in this form. If you are unable to
              provide all the requested supporting documentation, please submit the application with the information you have available and we will
              provide a knowledgeable agent to assist you in compiling any missing documentation and guide you through the process.



                                                                                                                                  v090711
              12-12020-mg             Doc 5926-1 Filed 11/18/13 Entered 11/22/13 11:56:52                                                                                  Exhibit
                                          Documents in re: Mortgage Pg 11 of 25
                             Exhibit A- 3 Month Self Em lovment Income Statement (Profit and Loss Form)
                               This for m may be used if you are self-employed or a 1099 wage ea rner only.
BORROWER' S NAME                                                                                                                           Account Number                0601856320
For each borrower who is self employed a Profit and Loss Statement is required for each business. If borrower has more than one
business, we require a Profit and Loss Form for each business. The example document may be used to supply the required
information .
Month and Year must be                     Month 1                                                         Month 2                                              Month 3                Total
indicated. Use most recent       Month           Year - -                         Month                          Year -                             Month             Year - -
consecutive months.
                                                                                                                                           -
Sales                                                                              $                                                                $                             $
Cost of Goods Sold                                                                 $                                                                $                             $
Gross Profit                                                                       $                                                                $                             $
                                                                                  Operating Expenses
Advertising                      $                                                $                                                                 $                             $
Amortization                     $                                                l                                                                 $                             $
Auto Expenses                    $                                                 S\          \"....                                               $                             $
Bank Charges                     $                                                 $\              \"'- "                                           $                             $
Depreciation                     $                                                 $ \                 \                           7'--             $                             $
Dues & Subscriptions             $                                                                             \, I                                                               $

                                                                                                                                           '
                                                                                   $ \                                                              $
Employee Benefits                $                                                 $   \                        '\'                                 $                             $
Insurance                        $                                                \$       \                           \                            $                             $
Interest                         $                                                 \           \                               \                    $                             $
Office Expenses                  $                                                 $\              \                           \\                   $                             $
Payroll Taxes
Rent
                                 $
                                 $                ~
                                                                                   $\
                                                                                   $ \
                                                                                                       \
                                                                                                           \
                                                                                                                                   "                $
                                                                                                                                                    $
                                                                                                                                                                                  $
                                                                                                                                                                                  $
Repairs & Maintenance            $                 \ ............                  $ \                         \                                    $                             $
Salaries & Wages                 $                   \                   ........... ~    \                        \                                $                             $
Supplies                         $                       \                            $ ~                              \                            $                             $
Taxes & Licenses                 $                           \                     $                                       \                        $                             $
Telephone                        $                               \                 $                                           \                    $                             $
 Utilities                        $                                  \                $                                            \                $                             $
Other                             $                                       \.          $                                                             $                              $
Total Operating Ex penses         $                                         '         $                                                             $                              $
Net Profit Before Taxes           $                                                   $                                                             $                              $
 Income Taxes                     $                                                   $                                                             $                              $
Net Profi t After Taxes           $                                                   $                                                             $                              $


                                                    Exhibit 8 - lmcstment Pro ertv Schedule
                                                                                         Account Number
            h ru·r m AJPr who receives rental income from an investment property an Investment Property Schedule is required. If additional
                              include an additional
Property                                 Property City,                  Number                                                                                            Monthly     Monthly
Number                                   State, and Zip                  of Units              Circle Al l That                                Monthly      Mortgage       Insurance   HONCondo
                                         Code                            ( 1, 2, 3,                 Apply                                      Rental       Payment        and Taxes   Dues (if
                                                                         4, or 5+)                R - Rented                                   Income       (excluding                 applicable)
                                                                                                  V- Vacant                                                 taxes and
                                                                                              PS - Pending Sale                                             insurance)
                                                                                              F - In Foreclosure
                                                                                               R               v PS                    F

                                                                                               R               v PS F                                                      $

                                                                                                                                                                           $
                                                                                               R               v PS                    F

                                                                                                   R           v PS                    F

                                                                                                   R           v PS                    F
                                                                                                                                                            $              $

                                                                                                                                                            $              $




                                                                                                                                                                                 v090711
      12-12020-mg               Doc 5926-1 Filed 11/18/13 Entered 11/22/13 11:56:52 Exhibit
                                11-   ·'"'
                                    Documents in re: Mortgage Pg 12 of 25

 GMAC Mortgage
PO Box 780
Waterloo, IA 50704-0780

03/07/12




                        00003
DIANE M WALKER
RONNIE E WALKER                                                                   Property Address:
240 FAIRBROOK LANE                                                                240 FAIRBROOK LANE
STOCKBRIDGE GA 3028 1                                                             STOCKBRIDGE GA 3028 1




                                                                                   Account Number 0601856320
           Dear DIANE M WALKER and RONNIE E WALKER:
                                                                                   Please check the box that best
           We understand how difficult it may be to ask for help when you          describes your ~ituation.
           need it the most.
                                                                                  I want to:
           The best way to find out what options are available is to help us       Keep the property
           understand your financial situation by completing the attached          Sell the prop!!rty                    []
           application package, including aU the required documentation.
           Upon receipt of the documentation we will assign a relationship         This home js;
           manager to assist you throughout the process.                           Where I live                          ~
                                                                                   Second Home                           0
                                                                                   lnvestment Property                   0
           As an alternative, ifyou are experiencing any difficulty
           completing the full package you may complete this fom1 by              11 or a nwmber of my family is. or h~s been
           checking al l of the appropriate boxes to the right. This will ht;lp    on active duty with our military 0
           us identify potential progranlS available to meet your needs.          You may he eligiblefor benefits and
           Once we have received this information, we will assign a               protection under the Servicemembers
           Relationship Manager to personally help you through this               Civil Re/iifAct {SCRA)
           process.
                                                                                  I nel.'.d help because J have/run ••.
           Once your relationship manager is assigned they will stay with         A loss of income                      r.(
           you throughout the process and assist with all documentation           Increase ili expenses                 0
                                                                                  Cah't sell/rent my home               0
           needs as well as explain every step of the process.
                                                                                  Marital problems -D',v41,.C.ecf ~
                                                                                  Unemployed                            !!!!""
           We look forward to working through this ·with you.                     lncarceratiop                         Li
                                                                                  Damage to the home due to
           Thank you.                                                             hurricane, flood, earthquake, etc 0
                                                                                  Death or illness of family member 0
           Loan Servicing                                                         Other                                 rV'




  Fax this letter with your documentation attached to 1-866-709-4744 -or- Mail to: Loss Mitigation , 233
  Gibraltar Rd., Suite 600, Horsham PA 19044


  What is the best number/time to reach you? (                                    5 .-.
                                                              L/ot.{ ) _ '-I...;...L.. 3_- -~.;;;.__o_o_o_ _ ~fi~

 NC06 1                                                                                                                       00003
        12-12020-mg        Doc 5926-1 Filed 11/18/13 Entered 11/22/13 11:56:52                       Exhibit
                               Documents in re: Mortgage Pg 13 of 25


    Consider all options. We will explore all options to help you keep your home. If you do not wish to
    stay in your home, we can help make your transition to a new home easier. Following is a brief
    description of available options:


    •   Repayment Plan: If you have experienced a temporary loss of income or increase in expenses but
        can now afford to make higher payments, we may be able to develop a repayment plan.


    •   HAMP Modification: This is an important Federal Program designed to assist you in obtaining an
        affordable mortgage payment. We will review your monthly income and housing costs - including
        any past due payments - and determine an affordable mortgage payment.


    •   Other Loan Modifications: If you are not able to make higher monthly payments but can still afford
        your current mortgage payment, we may be able to modify your loan.


    •   Short Sale: If the value of your home has declined, you may be able to sell it for less than the full
        amount due and eliminate your mortgage.


    •   Deed in Lieu of Foreclosure: If you have tried to sell your property for 90 days, you may be able to
        voluntarily return the deed to GMAC Mortgage to satisfy your debt and avoid foreclosure.




Notice Regarding Foreclosure Scams:

•   There is never a fee to participate in or learn more about our Modification Programs. To locate a
     HUD-approved counselor, visit: http:/lwww.hud .gov/offices/hsg/sfh/hcc/fc/
•   Beware of any person or organization that asks you to pay a fee in exchange for housing counseling
    services or modification of a delinquent loan .
•   Beware of anyone who says they can ''save" your home if you sign or transfer over the deed to your
    house. Do not sign over the deed to your property to any organization or individual unless you are
    working directly with your mortgage company to forgive your debt.
•   Never make your mortgage payments to anyone other than your mortgage company without their
    approval.




Please Note:

Documentation must be received 7 days prior to the scheduled foreclosure sale date. If your Rroperty is in
the state of Florida, a complete package must be received 30 business days prior to the scheduled
foreclosure sale date.
Notice regarding Bankruptcy: As we understand that you filed for bankruptcy and have received an
Order of Discharge in a Chapter 7 proceeding , this letter is being sent to you for informational purposes
only, it is not an attempt to collect a discharged debt and applies only to our lien interest on your property.
12-12020-mg     Doc 5926-1 Filed 11/18/13 Entered 11/22/13 11:56:52   Exhibit
                  - 12
              I ~ Documents
                          0~0     ~
                              in re:      ·
                                     Mortgage Pg 14 of 25




                                                                        A 1...
    12-12020-mg          Doc 5926-1 Filed 11/18/13 Entered 11/22/13 11:56:52                          Exhibit
                             Documents in re: Mortgage Pg 15 of 25
  ** *     REC 2012083         130239 H61F54EO $ZGS                CIPQYAG          PQAG        (F - $ZG )      ***

SOCIAL SECURITY ADMINISTRATION


                                                                       Date: March 23, 2012
                                                                       Claim Number: 421-52-2426A




                 EDNA E ROBERSON
                 54 05 3RD COURT EAST
                 TUSCALOOSA AL 35405-5010




You asked us for information from your record. The information that you
requested is shown below. If you want anyone else to have this information, yo\
may send them this letter.

Information About Current Social Security Benefits

  Beginning December 2011, the full monthly
  Social Security benefit before any deductions is ...... $ 827.20
     We deduct $ 9 9.90 f or medical insurance premiums each month .

   . ~·   . •.c<JU ldr monthly Social Security payment is ........ $ 727.00
          •'litS c   t·ound down t o the whole dollar.)
  ~--A:i<.l.~ Security benefits for a given month are paid the following month.                                       (FOJ
  example , Social Security benefits for March are paid in April.)
  Your Social Security benefits are paid on or about the fourth Wednesday of
  each month.

Info~~ation          About Past Social Security Benefits
  From December 2009 to November 2011, the full monthly
  Social Security benefit before any
  deductions was . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $ 798.50
     we deducted $96.50 for medical insurance premiums each month.

  The regu lar monthly Social Security payment was ....... $ 702.00
  (We must r ound down to the whole dollar.)
   12-12020-mg   Doc 5926-1 Filed 11/18/13 Entered 11/22/13 11:56:52   Exhibit
                     Documents in re: Mortgage Pg 16 of 25
Othe r Important Information

  BY SKM

If You Have An y Quest i ons
  If you have any questions, you may call us a t 1-800 - 7 72-121 3 , o r ca lL}'-'-·
  local Social Secur ity office at 877-840-7902. we can answe r most ques1 10JF.
  over the phone. You can also write or visit any Soc ial Se curity of fi c e . The
  office that serves your area is located at:
                                SOCIAL SECURITY
                                STE 1200
                                2005 UNIVERSITY BLVD
                                TUSCALOOSA, AL 35401

  If you do call o r visit an office, please have this lette r wi th y ou . It will
  help us answer you r questions.




                                                OFFICE MANAGER




                                                Signature
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                     Documents in re: Mortgage Pg 17 of 25




                                                                                  809 University Blvd. E.
                                                                                  Tuscaloosa, AL 35401
                                                                                  205.759.7111




  March 22, 2012




  Re:     Edna Roberson


   To Whom It May Concern:

   Please be advised that Ms. Roberson receives a monthly pension distribution of$594.56
   from the DCH Healthcare Authority Pension Plan. She will receive this benefit for the
   remainder of her life.

   If you need additional infom1ation, please contact me at (205) 750-5035.



   ;(~~
   Wand a Nichols
   Benefits Specialist




                     COMMUNITY -OWNED HEALTH SERVICES FOR W EST A LABAMA.
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.Thanks!                           Documents in re: Mortgage Pg 18 of 25

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 Plan Number:              100091
 Plan lfame:               OCH PErfS Pl
                                                                                                             Emp1
                                                                                                                             I
 Employer Number:          636045869



                                                                    02/21/2012   125.q(j7J   594.56 Total:
 ROBERSON,IDNA
   -  ..... _ ";.,..
                     XXX-XX-XXXX
                            ,. .          . ~~!.21/20120,.   ., .                               !~
                                           ._#-:

                                           03{20/20120              03{20/2D12   1278570     594.56 Total:
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                · 2 T¢J;AL IPA'I'MEN:Ts




 Monica Ratchford
 Trust Administrator
 Regions Trust
 Phone: 205-264-5858
 Fax: 205-264-5866
 monica.ratchford@Regions.com
 1901 Sixth Aven.ue North- 4th Floor
 Birmingham, AL 35203
 P. 0 . Box 830859
 Birmingham, AL 35283-0859


             R EGIONS
              TRUST




 From:     Wanda Nichols <WNichols@OCHSYSTEM.COM>




  3/21/2012
                     SOUTHERN
                                 12-12020-mg
                                         A                                          /2 -/20  .l D . fl~
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                                                                            Documents in re: Mortgage Pg 19 of 25
                                                                                                                                                                                             Exhibit
                         COMPANY
                                                                                                                                              QUEST ION S? CALL 1-888-435 -7 563 .
                    RET IREE SERVI CES
                    P. O. BO X 24989
                    JACKSON VILLE, FL 3224 1-49 89




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                    DIANE WALKER
                    240 FAIRBOOK LANE
                    STO CKBRIDGE GA 30 281 - 60 34




    ACCOUNT ID                   SOUTHERN-- SCQGP                                                                                                                       PERIOD BEGINNING :
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          COMPANY                                    1
                                                    ?___, -
                                                   Documents           f'vt-~ Pg 20 of 25
                                                                        !2-b o
                                                             in 2re: Mortgage
                                                                                         Q UESTI O NS? CALL 1-888-435-7563 .
       RETIREE SERVI CES
       P. O. BOX 24989
       J ACKSONVILLE, FL 3 2241 - 4 989




      AT 01 003129 23464E 12 8 **3DGT

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       DIAN E WALKER
       240  FAIRBOOK LANE
       STOCKBRI DGE GA 30281 - 6034




ACCOUNTID        SOUTHERN--SCQGP                                                                                   PERIOD BEGINNING:
                                                                                             CORP9 PP003
PLAN NAME        SOUTHERN COMPANY PENSION PLAN                                                                     PERIOD ENDING:


      PAYMENT DATE                        I            CHECK NUrv1BER            I PAYEE SOCiAL SECURITY NUMBER J                NET PAYMENT
FEBRUARY 01, 2012                                               440302606                ***-**-*** *                              655.57
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                                Documents in re: Mortgage Pg 21 of 25

                                                                                       RECEIVED IN OFFICE
                                                                                         HENRY COUNTY
                                                                                        SUPERIOR COURT

                                                                                                 DEC 2 0 2010
                                                                                     CLERK OF SUPERIOR COURT




  Recording requested by:_..(~ _. 11(~                            Space above reserved for use by Recorder's Office
  When recorded, mail to:                                         Document prepar:ed by:
  Name: ~               WfJ hA}                                   Name    giL~ )1/'~
  Address:  Z1tJ , ~ £r~                                          Address ;27!tJ  ~ ;{~
  City/State/Zip: ~/ l/fl So2B I                                  City/State/Zip it.~ !1fl- ~21;(

  Property Tax ParceUAccount Number: -'tJ~5'--'Z
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                                           Quitclaim Deed
  This Quitclai~ Deed is made on
                         ~W / 6- ;l.CJ 10 _     , b~tween
                                       1
      Kff1UUJ,       {;~ ~ Grantor, of #<f/0 ~~ N / ,
  _ _ _ ,Cityof        ~.6---/                                       , Stateof     .~ d:..__.)                                 ,

  and    ,/R.l/tAt ~                                    ,Grantee, of     '2'{(),_-~ XIZ/U/
  _              , City of~,L)                                    , State of     .~~

  For valuable consideration, the Grantor hereby quitclaims and transfers all right, title, and interest held by
  the Grantor in the following described real estate and improvements to the Grantee, and his or her heirs
  and assigns, to have and hold forever, located at      ;2. L/t' ~~ X:~
  _ __ ,City of .~~                                             , State of ife:_~


          /_ L S;) - /o th Visl-rr·c:t - LoT lfiO
          iUacc/et1 1 Pha ~c 3
           j;}LifT zo P9 103 -/Ot..j

  Subject to all easements, rights of way, protective covenants, and mineral reservations of record, if any.
  Taxes for the tax year of    2JJ / /)     shall be prorated between the Grantor and Grantee as of the date of
  recording of this deed.
                                                                                       *   NOVA Quitclaim Deed Pg .l (07-09)




Tfc1+ 8c;ok 20 ,:PC\~es 10:3 -~ JO ~
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                         Documents in re: Mortgage Pg 22 of 25
                           TRANSM I SSION V E R IFI CATIO~l REPORT

                                                                     TIME    07 / 07 / 2011 13 : 18
                                                                     NAME    MAIL&MORE
                                                                     FAX     7705072980
                                                                     TEL     7705072980
                                                                     SER.#   000J0N558277



 DATE, TIME                                         07/07 13 : 17
 FAX NO . I NAtv1E                                  18778185064
 DURATION                                           00 : 01 : 25
 PAGE(S)                                            05
 RESULT                                             OK
 MODE                                               STANDARD
                                                    ECM
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                               Documents in re: Mortgage Pg 23 of 25
                                                                                                       Exhibit




    Dated:     ~ ~~ UJ /tJ


    Signature of Grantor



    Name of Grantor




    Signature ofWitness # 1                                 Printed Name ofWitness #1



                                                            Printed Name ofWitness #2


                                                  County of   tfeJ'l ~               .       .
                                                  , the Grantor, 1\_QOO J   e £.. VJCU /}) e;y
    personally came before me and, being duly sworn, did state and prove that he/she is the person described
    in the above document and that he/she signed the above document in my presence.


       a~w-Aue.
    Notary Signature


    Notary Public,
                           f(en rz_
    In and for the County of                      State of f:;EJffj / CL
    My commission expires:\fl J \   / Le J 02 0 Jtj-

    Send all tax statements to Grantee.
                                                                               *NOVA Q uitc laim Deed Pg .2 (07.()9)
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                            Documents in re: Mortgage Pg 24 of 25
                                                                                                  ~0
                                                                                    MAR 10 2011
                                 UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISlRICT OF GEORGIA .
                                         ATLANTA DIVISION


             INRE:                                                   CASE NO. 11 -50654-JB

             DIANEM. WALKER,
                                                                     CHAPTER 7
                           Debtor.


                                                   ORDER

                           Before the Court is the motion by the Debtor, Diane M. Walker, to

             voluntarily dismiss Kim J. King as counsel for the Debtor.. The motion is hereby

             GRANTED.

                           Debtor is directed to notify the Court within twenty-one (21) days of the

             entry of this Order of Debtor's appointment of another att~mey or debtor's decision to

             proceed prose. The Debtor is further directed to provide the Court with th~ address and

             telephone number of the newly appointed attorney or of Debtor' s own address and

             telephone number if Debtor elects to proceed pro se.

                          IT IS SO ORDERED, this     __!/.!:day of March, 20 II .

                                                       0    EBIHARY
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                              Documents in re: Mortgage Pg 25 of 25


                                                 DISTBJBUTION LIST

                Diane M. Walker
                240 Fairbrook Lane
                Stockbridge, GA 30281-6034

                KimJ. King
                Kim J. King & Associates, P.C.
                3192 Evelyn Street
                P.O. Box 2519
                ·rucker, GA 30085-2519

                Cathy L. Sca~ver
                P.O. Box 672587
                Marietta, GA 30006

                Office of the United States Trustee
                362 Richard Russell Building
                7 5 Spring Street, S W
                Atlanta, GA 30303




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